

People v Crowder (2019 NY Slip Op 04191)





People v Crowder


2019 NY Slip Op 04191


Decided on May 29, 2019


Appellate Division, Second Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on May 29, 2019
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Second Judicial Department

WILLIAM F. MASTRO, J.P.
SHERI S. ROMAN
JOSEPH J. MALTESE
VALERIE BRATHWAITE NELSON, JJ.


2005-00202
 (Ind. No. 2402/01)

[*1]The People of the State of New York, respondent,
vKevin Crowder, appellant.


Kevin Crowder, Napanoch, NY, appellant pro se.
Eric Gonzalez, District Attorney, Brooklyn, NY (Solomon Neubort of counsel), for respondent.
Paul Skip Laisure, New York, NY (Erica Horowitz of counsel), former appellate counsel.



DECISION &amp; ORDER
Application by the appellant for a writ of error coram nobis to vacate, on the ground of ineffective assistance of appellate counsel, a decision and order of this Court dated January 15, 2008 (People v Crowder, 47 AD3d 724), affirming a resentence of the Supreme Court, Kings County, imposed December 8, 2004.
ORDERED that the application is denied.
The appellant has failed to establish that he was denied the effective assistance of appellate counsel (see Jones v Barnes, 463 US 745; People v Stultz, 2 NY3d 277).
MASTRO, J.P., ROMAN, MALTESE and BRATHWAITE NELSON, JJ., concur.
ENTER:
Aprilanne Agostino
Clerk of the Court








